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UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF FLORIDA

CASE NO. 17-CV-24117-HUCK

GAYNISHA WlLLIAl\/IS,

NATHANAEL MARS,

SHANNON DANIELS,

LAKEISHA CHATFIELD, and

LAKEISH CHATFIELD ON BEHALF OF
HER MINOR DAUGHTER, T.C.,

Plaintiffs,
v.

MIAMI BEVERLY, LLC,
LIBERTY APARTMENTS, LLC,
FREEDOl\/I APARTMENTS, LLC,
DENISE VAKNIN, and
ABRAHAM VAKNIN,

Defendants.
/

 

ORDER FOR STATUS REPORT
On April 20, 2018, the Court entered an Order to Stay Proceeding “to allow the

bankruptcy court to resolve certain issues discussed [at the hearing].” The Court wishes to know
the status of the bankruptcy proceeding and whether the case should be administratively closed
until the bankruptcy court resolves those “certain issues.” Therefore, the parties shall tile a status
report regarding the bankruptcy case, including when it is anticipated that it will be resolved, and
a recommendation about whether this case should be administratively closed, subject to being
reopened when appropriate The report is due by August l, 2018.

DONE AND ORDERED in Chambers in Miami, Florida, on July 23, 2018.

   

  

`W’l _ _ 1
ul C. Huck
Uni_ted States District Judge

Copies furnished to:
All Counsel of Record

